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10                                  UNITED STATES DISTRICT COURT

11                                 EASTERN DISTRICT OF CALIFORNIA

12                                      SACRAMENTO DIVISION

13

14 RALPH COLEMAN, et al.,                                  Case No. 2:90-CV-00520- KJM-SCR

15                   Plaintiffs,                           DECLARATION OF DAVID SAPP IN
                                                           RESPONSE TO AUGUST 22, 2024
16            v.                                           ORDER (ECF NO. 8368)

17 GAVIN NEWSOM, et al.
                                                           Judge:   Hon. Kimberly J. Mueller
18                   Defendants.

19

20            I, David Sapp, declare as follows:

21            1.     I am the Legal Affairs Secretary for the Office of Governor Gavin Newsom. I have

22 held this position since April 2023, and before that, I served as Acting Legal Affairs Secretary

23 from December 2022 to April 2023. I have previously served as Chief Deputy Legal Affairs

24 Secretary and Deputy Legal Affairs Secretary. I have also held roles with the California State

25 Board of Education (as Deputy Policy Director and Assistant Legal Counsel) and the American

26 Civil Liberties Union Foundation of Southern California (as Director of Education Advocacy /

27 Legal Counsel, and as a staff attorney).

28            2.     In my current role, I serve as principal legal advisor to the Governor and as a

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 1 member of the Governor’s Senior Executive Team. I manage a team of approximately 23

 2 attorneys, analysts, and support staff in the Office of Legal Affairs, including overseeing civil

 3 litigation, internal legal advice, Tribal compact negotiations, parole and clemency, and other in-

 4 house counsel responsibilities.

 5            3.    This Court held a hearing on August 21, 2024, and advised the parties that the

 6 Court was granting leave for the parties to supplement their answers at the August 20, 2024

 7 hearing on the Order to Show Cause re Receiver. Specifically, the Court ordered the parties to

 8 “file declarations signed under penalty of perjury setting forth their respective positions regarding

 9 adherence to the law of the case in this action, specifically with respect to the remedial plans for

10 this action and the requirements for implementation of those plans that have been established by

11 court order.” ECF No. 8368 at 3:26-4:2. I submit this declaration in response. 1

12            4.    Defendants do not dispute that the remedial plan is the standard against which the

13 Court is measuring Defendants’ constitutional compliance or that Defendants are subject to and

14 must comply with the remedial orders. Defendants accept that the Program Guide and

15 Compendium reflect the remedial plan that Defendants must implement and substantially comply

16 with to cure the constitutional violations in this case. Defendants further accept that they are

17 bound by this Court’s remedial orders and must durably come into substantial compliance with

18 those orders.

19            5.    Defendants note, however, that that the remedial plan, including the Program Guide

20 and Compendium, is not set in stone. The remedy, including each discrete element of the Program

21 Guide, is aimed at creating a constitutionally adequate mental health care system that is durable.

22 Over the course of this case, numerous changes have been made to remedial plan documents, such

23 as changes to staffing ratios, adding classifications, and creating new programs. See, e.g., ECF

24 Nos. 5750 (approving a PIP policy and ordering the parties to file a consolidated Program Guide

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26   1
     The entirety of Defendants’ position with respect to the appointment of a receiver in this case,
   including but not limited to Defendants’ objection to the appointment of anyone other than Clark
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   Kelso as receiver under specific terms, is set forth in the parties’ August 2, 2024 Joint Response to
28 OSC re Appointment of Receiver. ECF No. 8347.

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 1 incorporating all modifications required by court orders), 6214 (order approving revision to the

 2 Program Guide), 6295 (ordering MHCB referral, rescission and discharge policy be incorporated

 3 into the 2018 Program Guide), 6639 (order temporarily modifying Program Guide requirements

 4 for transfer of class members to DSH inpatient beds to include COVID-19 screening), 6938

 5 (ordering Defendants to make minimal modifications to the Staffing Plan to include Psychiatric

 6 Nurse Practitioners), 7456 (approving the 2021 Program Guide update).

 7            6.   As this court has noted, Defendants have the ability to request changes to the

 8 remedial plan and may move to modify this Court’s orders. And as the Court is aware,

 9 Defendants have appealed several recent orders of the Court that Defendants believe expand the

10 scope of the remedy. Likewise, disputes have arisen around the proper interpretation of aspects of

11 the Program Guide and Compendium. Because the remedial plan has been and continues to be

12 subject to changes and differing interpretations of existing language, Defendants are

13 uncomfortable with the Court’s framing that the remedial plan and Court orders are law of the

14 case. But this does not in any way suggest that Defendants dispute that they are subject to and

15 must comply with the remedial orders.

16            7.   Defendants agree with counsel for the Plaintiff class, Michael Bien, who stated at

17 the August 20, 2024 hearing that “the framework you begin with is the program guide and this

18 Court’s orders,” acknowledging that “the Special Master and plaintiff’s [sic] counsel and this

19 Court have allowed amendments to the program guide or amendments where appropriate.” Tr. of

20 Proceedings Re: Order to Show Cause Hearing at 20:8-12, Aug. 20, 2024 (ECF No. 8366).

21            8.   Accordingly, Defendants also believe that, as part of an initial evaluation of the

22 system, Mr. Kelso should review the entirety of the remedy and determine whether further updates

23 or amendments should be recommended to the Court, as occurred in Plata. Plata v.

24 Schwarzenegger, No. C01-1351 TEH, Order Appointing Receiver at *2:20-27 (directing the

25 Receiver to develop a detailed Plan of Action which shall “include recommendations to the Court

26 of which provisions of the (1) June 13, 2002 Stipulation for Injunctive Relief, and (2) September

27 17, 2004 Stipulated Order re Quality of Patient Care and Staffing Order and Injunction (and/or

28 policies or procedures required thereby) should be carried forward and which, if any, should be

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 1 modified or discontinued due to changed circumstances”), ECF No. 473 (N.D. Cal. Feb. 14,

 2 2006).

 3            9.    While Defendants have appealed several recent orders that Defendants believe

 4 expanded the scope of the remedial plan (see, e.g., ECF Nos. 8262 (appealing order to implement

 5 personality disorder treatment program), 7953 (appealing order to adopt and implement minimum

 6 PIP treatment standards), 8222 (appealing order overruling Defendants’ objections to the Special

 7 Master’s recommendation to create a new PIP placeholder indicator to measure timely review of

 8 maximum custody patients in accordance with CDCR’s TTM policy)), Defendants’ appeal of

 9 these orders in no way reflects an effort to shun or undermine the remedial framework in this case.

10 Rather, it reflects Defendants’ good-faith belief that the orders represented a further expansion of

11 the remedy and that the PLRA’s requirements for imposing new prospective relief were not met.

12 Defendants fully intend to comply with those orders as part of the remedial framework, to the

13 extent they are not stayed pending appeal, and agree that they will remain part of the remedial

14 framework that Defendants are bound to implement to the extent the Ninth Circuit affirms those

15 orders on appeal.

16            10.   Accordingly, there is no dispute or disagreement that the remedy is the remedy.

17 Rather, Defendants’ continuing discomfort with the Court’s framing of the law of the case

18 question stems instead from the implication that the remedy, once established, is static and need

19 not be revisited—regardless of changes in the accepted standard of care or other important

20 considerations.

21            11.   Finally, Defendants do not in any way view the appointment of a receiver as an

22 opportunity to cast away the remedy in this case. Rather, Defendants view the potential

23 appointment of Mr. Kelso as a unique opportunity to more expeditiously bring this case into

24 compliance and, ultimately, to conclusion. See ECF Nos. 8347-1 (Decl. Macomber Supp. Joint

25 Response to OSC Re: Appointment of Receiver) at ¶ 2; 8347-2 (Decl. Sapp Supp. Joint Response

26 to OSC Re: Appointment of Receiver) at ¶ 5; 8347-3 (Decl. Toche Supp. Joint Response to OSC

27 Re: Appointment of Receiver) at ¶ 6. Indeed, in proposing the appointment of Mr. Kelso as

28 receiver, Defendants are affirmatively proposing to cede authority over critical decisions about

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 1 implementation of the remedy to a Court-appointed receiver.

 2            I declare under penalty of perjury under the laws of the United States of America that the

 3 foregoing is true and correct.

 4            Executed on August 28, 2024, at Sacramento, California.

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 6                                                      /s/ David Sapp
 7                                                      David Sapp

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